       Case 2:15-cr-00134-TLN Document 71 Filed 02/27/19 Page 1 of 3


     HEATHER E. WILLIAMS, #122664
1    Federal Defender
     NOA E. OREN, #297100
2    Assistant Federal Defender
     Designated Counsel for Service
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700/Facsimile: (916) 498-5710
     Noa_Oren@fd.org
5
     Attorney for Defendant
6    DION L. JOHNSON II
7
                                   IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                     )    Case No. 2:15-cr-00134-GEB
10
                                                   )
                      Plaintiff,                   )
11                                                      STIPULATION AND [PROPOSED] ORDER
             v.                                    )    TO VACATE TRIAL CONFIRMATION
12                                                 )    HEARING AND TRIAL AND TO EXCLUDE
     LONDON J. WEBB et al.,                        )    TIME
13                                                 )
                      Defendant.                   )    Date: March 1, 2019
14                                                      Time: 9:00 a.m.
                                                   )
                                                        Judge: Garland E. Burrell, Jr.
15                                                 )

16
17
             IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
18
     Attorney, through Justin Lee, Assistant United States Attorney and attorney for Plaintiff, and
19
     Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney
20
     for Dion Laroy Johnson II, and William Bonham, attorney for London Webb, that the trial
21
     confirmation and trial hearing be vacated. The parties further request that the Court set a status
22
     hearing on May 3, 2019 and that time be excluded through that date.
23
             The reason for this continuance is to allow defense counsel additional time continue
24
     investigating avenues for mitigation and negotiating a possible resolution.
25
             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26
     excluded of this order’s date through and including May 3, 2019; pursuant to 18 U.S.C.§3161
27
     (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based
28
     S[[
      Stipulation and Order to Continue                -1-
        Case 2:15-cr-00134-TLN Document 71 Filed 02/27/19 Page 2 of 3



1    upon continuity of counsel and defense preparation.
2             Counsel and the defendants also agree that the ends of justice served by the Court
3    granting this continuance outweigh the best interests of the public and the defendants in a speedy
4    trial.
5                                                  Respectfully submitted,
     DATED: February 26, 2019                      HEATHER E. WILLIAMS
6
                                                   Federal Defender
7
                                                   /s/ Linda C. Allison for
8                                                  NOA E. OREN
                                                   Assistant Federal Defender
9                                                  Attorney for Defendant
10                                                 DION L. JOHNSON II

11   DATED: February 26, 2019                      MCGREGOR SCOTT
                                                   United States Attorney
12
                                                   /s/ Justin Lee
13                                                 JUSTIN LEE
14                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     S[[
      Stipulation and Order to Continue              -2-
       Case 2:15-cr-00134-TLN Document 71 Filed 02/27/19 Page 3 of 3


                                                 ORDER
1
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8
             The Court orders the trial confirmation hearing and trial dates vacated and orders that a
9
     status conference be scheduled for May 3, 2019, at 9:00 a.m. The Court orders the time from the
10
     date of the parties stipulation, up to and including May 3, 2019, excluded from computation of
11
     time within which the trial of this case must commence under the Speedy Trial Act, pursuant to
12
     18 U.S.C. §§3161(h)(7), and Local Code T4.
13
     Dated: February 27, 2019
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     S[[
      Stipulation and Order to Continue               -3-
